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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA


 ENERGY POLICY ADVOCATES,

                  Plaintiff,

        v.
                                                              Civil Action No. 22-298 (TJK)
 ENVIRIONMENTAL PROTECTION
 AGENCY,

                  Defendant.


                                UNOPPOSED SECOND MOTION

     FOR A STAY OR ALTERNATIVE MOTION FOR AN EXTENSION OF TIME

       NOW COMES the Plaintiff, and files this Unopposed Motion for a Stay of the deadlines

under Fed. R. Civ. P. 54 (d), and alternative Motion for an Extension of Time. In support of this

Motion, Plaintiff states as follows:

       1) On September 29, 2023, this Court issued a Memorandum Opinion and Order

             resolving the remaining disputed issues in this case, with the exception of Plaintiff’s

             claim for its attorneys’ fees and costs.

       2) Under Fed. R. Civ. P. 54 (d), Plaintiff would ordinarily have 14 days from the date of

             that Memorandum Opinion and Order to seeks its attorney’s fees and costs. The Court

             previously extended this deadline through and including October 17, 2023.

       3) Notwithstanding that Plaintiff did not receive a favorable outcome in the September

             29, 2023 Memorandum Opinion and Order, Plaintiff nevertheless believes it is

             entitled to its fees and costs in this case as a substantially prevailing party because of

             various documents it obtained before summary judgment briefing commenced.
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      4) Plaintiff provided its demand to Defendant’s counsel on September 29, 2023.

          Defendant has stated (as of October 19, 2023) that it continues to review Plaintiff’s

          demand, and has not yet indicated whether it intends to accept or reject Plaintiff’s

          offer of settlement. Defendant has indicated in light of its continuing review that it

          does not oppose either a stay of the relevant deadline or a 14-day extension of the

          applicable deadlines so that the parties can continue to discuss Plaintiff’s demand.

      WHEREFORE, Plaintiff respectfully requests that this Court stay all relevant deadlines

      under Fed. R. Civ. P. 54 (d), or alternatively extend such deadliners for another period of

      14 days, through and including November 10, 2023.

Dated: October 20, 2023
                                               Respectfully submitted,


                                               /s/ Matthew D. Hardin
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